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                                                Certificate Number: 13858-ILN-CC-030902314


                                                              13858-ILN-CC-030902314




                    CERTIFICATE OF COUNSELING

I CERTIFY that on April 18, 2018, at 7:54 o'clock PM CDT, June Lane received
from MoneySharp Credit Counseling Inc., an agency approved pursuant to 11
U.S.C. § 111 to provide credit counseling in the Northern District of Illinois, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   April 18, 2018                          By:      /s/Wendel Ruegsegger


                                                Name: Wendel Ruegsegger


                                                Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
